






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-03-571 CV


____________________



ROLANDA CROSS, Appellant



V.



FREDDIE SHAHRODI, Appellee






On Appeal from the County Court at Law No. 1


Jefferson County, Texas


Trial Cause No. 97837






MEMORANDUM OPINION (1)


	On February 12, 2004, we notified the parties that the appeal would be dismissed
for want of prosecution unless arrangements were made for filing the record or the
appellant explained why she needed time for filing the record.  Appellant did not respond. 
The appellant is not entitled to proceed without payment of costs.  Tex. R. App. P. 20.1. 
There being no satisfactory explanation for the failure to file the record, the appeal is
dismissed for want of prosecution.  Tex. R. App. P. 37.3(b).  Costs are assessed against
appellant.

	APPEAL DISMISSED.	

								PER CURIAM

Opinion Delivered April 1, 2004 

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


